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UNITED sTATEs oF AMERICA * 933 -*Y 33 33“3;1§3.})
* fm Wl”.l f`;'¢ T,N MEMPHS
vs. * Case No. 2: 97cr20244 2-D
ak
ERIC RAYFORD *

 

ORDER HOLDING DEFENDANT FOR FINAL REVOCATION HEAR[NG

 

On June 21, 2005, Eric Rayford appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant had previously been advised
of his rights under Fed.R.Crim.P. 5 and 32.l(a), and counsel Was appointed

At this hearing, the Court, after hearing proof, concluded that probable cause was established
that the defendant had violated the terms and conditions of his supervised release.

Accordingly, defendant Eric Rayford is held to a final revocation hearing before United
States District Judge Bernice B. Donald lt is presumed that the Distn`ct Judge Will set this matter
for a revocation hearing pursuant to Fed.R.Crim.P. 32. l(b),(c), and will see that appropriate notices
are given.

The defendant Was remanded to the custody of the United States Marshals.

IT IS SO ORDERED this 21st day of June, 2005.

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TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 108 in
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Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

